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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

GRANT L. ASHLEY,                           )
                                           )
       Plaintiff,                          )
                                           )
v.                                         )       Case No. CIV-16-443-M
                                           )
UNIVERSITY OF OKLAHOMA,                    )
                                           )
       Defendant.                          )

                                    AMENDED ORDER

       Before the Court is The University’s Motion to Dismiss Plaintiff’s Amended Complaint,

filed June 20, 2016. Plaintiff has not responded to defendant’s motion. Pursuant to Local Civil

Rule 7.1(g) 1, the Court hereby deems defendant’s motion to dismiss confessed. Accordingly, the

Court GRANTS The University’s Motion to Dismiss Plaintiff’s Amended Complaint [docket no.

14] and DISMISSES this action without prejudice.

       IT IS SO ORDERED this 17th day of August, 2016.




       1
         Local Civil Rule 7.1(g) provides, in pertinent part: “Any motion that is not opposed
within 21 days may, in the discretion of the Court, be deemed confessed.”
